                                                                        CLERIO OFFICE U .
                                                                                        S.DIST.COURT
                                                                               AT ROANOKE,VA
                                                                                    FILED

                       IN THE UNITED STATES DISTRICT COURT                        JUN 25 2219
                      FOR THE W ESTERN DISTRICT OF VIRGINIA                  JUL     DUDLEM CLERK
                            CHARLOTTESVILLE DIVISION                        BY:
                                                                                            K
IM D .SOCO L,

      Plaintiff,
                                                          CivilAction No.3:18CV00090

                                                         M EM OR ANDUM OW NION
A LBEM A RLE COU N TY SCH OO L BOA RD ,
                                                         By:Hon.Glen E.Conrad
rd                                                       SeniorUnited StatesDistrictJudge

M ATTHEW S.HA AS,individually and as
SuperintendentofAlbemarleCountyPublic
Schools,

       D efendants.


       Ira D.Socol,a tormer employee ofthe Albemarle Cotmty Public Schools Cschool
System'),filedthisactionagainsttheAlbemadeCotmtySchoolBoard(dlschoolBoard'')andthe
Superintendentof Schools,M atthew S.Haas,asserting claims tmder42 U.S.C.j 1983 and
Virginia law. The case ispresently before the courton the defendants'm otion to dismiss. For

thereasonssetforth below,them otion willbe grantedinpartand denied in part.

                                        B ackeround

       The following facts are taken f'
                                      rom the am ended complaint and docum ents relied on

therein. SeePhillipsv.LCIInt'l.Inc.,190F.3d609,618(4thCir.1999)(notingthatthecourtcan
properly considerdocum entsthatare çiintegralto and explicitly relied on in the complaint''when

nzlingona'
         m otiontodismiss).
       InFebruat'yof2013,SocolwasMredtoworkastheDesignProjectManagerfortheSchool
System's Desigli2015 project. Am .Compl.! 10. He becnme the AssislnntDirector of
EducationalTechnologiesin March of2015. JZ ! 11. ln July of2017,Socolwasselected to


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direct the Departm entof Accountability,Research and Teclmology,which was subsequently

reorganized into the Department of Leaming, Engineering, Access, and Design (<ILEAD
Departmenf'). Id.!! 12-13.
       On or about M arch 5,2018,Haas,who was then Deputy Supelintendent of Schools,

informed Socolthat he was Haas' choice to asslzm e the new role of Cllief Teclmology and

InformationOflker(d$CTIO''). J-
                              IJ.S!14. Atthetimeoftheirdiscussion,Haashadbeenselected
to replace Pnmela M oran as Superintendent. Haaswas aware thatSocolhad been considering

otherprofessionalopportunitiesoutsidethe SchoolSystem. JZ !;17. In orderto convincethe
plaintifftoforegootherjobopportlmities,Haasagreedtothesalaryrequestedbytheplaintiff. JZ
! 18. Hnnq also agreed thatSocolwould remain in the position ofCTIO throughoutHaas'
forthcomingtenuieasSuperintendent. JIJ-.! 19. Haasindicated thatheGçexpectedtoservetwo
                                          .




fotlr-yearterms.''l JZ BasedonHaas'representations,Socolagreedtoaccepttheposition. ltla             - .




!! 19-20.
       The SchoolSystem publicly nnnotmced thatSocolhad been nnm edthe CTIO on Apdl24,

2018. JZ !20. 0nJuly1,2018,HaasassllmedthetitleofSuperintendent. JZ !16. Inhisrole
asCTIO,SocolwastheheadoftheLEAD Depnrtment. Ltla!27. Hereported directlytoHaas.
Id.!16.
       Socolwasheavilyinvolved in thedevelopm entofanew pilothigh schoolcenterknown as

Albemade Tech. Ld.u
                  s!! 30-31. HnnA appointed Socol and several other School System
employeesto a committee responsible foroverseeing the project(the ççsteering Committee').
HaasQGmade(AssistantSuperintendentDeborahlCollinstheseniormemberofthecommittee''and
ttindsay Snoddy the ProjectM anager,''and he Rgave Rosalyn Schmitt then the Directorof
        1UnderVirginialaw,ddltqhedivisionsuperintendentshallserveforaninitialterm ofnotlessthantwoyears
normorethan fouryears.'' Va.Codej22.1-60. uAttheexpiration oftheinitialterm,thedivision superintendent
shallbeeligibletohold om cefortheterm specitied bytheemployingschoolboard,nottoexceed folzryears.'' J.
                                                                                                     I.
                                                                                                      J
                                                                                                      .
                                                  2

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FinanceandFacilities,financialoversight.'' Id.!33. TheSteering Committeewastaskedwith
opening a new technical M gh scho6l, a new space for the LEAD Depnrtment, and a new

professionallenrning center,a11ofwhich wouldbe located in thesnmeleased space. J.
                                                                                11.! 34.
The Steeling Committeehad approximately five monthsfrom itsformation to complete itswork

andopenthenew spacetostudentsandadministrators. LII.
      The SchoolBoard gave the Steering Comm ittee a budget of $250,000 to be used for

Grnishing the entire jroject. t11.! 38. Thebudgetincluded professionalservices,cabling,
acousticalpaneling,carpeting,and furnittlre. JZ Theallotted famding hadto bespentbyJtme
30,2018. J.
          IJ-.
      Two ofthe Steering Comm ittee m em bers proposed hiring JenniferGreenhalgh,a local

interiordesigner,to develop furnlsllirig plansfortheprojectata costof$150.00perhour. Id.
!(39.'Socolopposed theproposal,believingthatitwould beawasteofmoneyandthatthe
Steering Comm ittee,with theassistanceoftheBuilding ServicesDepartm ent,could do thework.

JZ   However, the other c'ommittee members disapeed w1111 Socol and elected to retain

Greenhalgh tp work on the project. J.IJ.
                                       , Greenhalgh subsequently provided the Steering
Comm ittee with alistofrecomm ended furnishingsthattotaled $488,000,excluding professional
fees,appliance
             's,cabling,carpeting;andfurnittlreforcertain areas. Id.!40.
      M terreceiving Greenhalgh's proposal,the Steedng Committee asked Elodie W olfe,.an

offce assistantpartially assigned to theLEAD Depnrtment,to compile a listoffurnishingsthat

wouldbemoreinlinewiththeSteeringCommittee'sbudget. Li !41. InlateApziloreadyM ay
2018,W olfe provided â presentation to the Steering Comm ittee,which included Greenhalgh's
recommendations,aswellasavarletyofaltelnlativefurnishingsfrom vendorssuchasW ayfairand

IKEA. J.I.
         J
         Z.!42. çsW ithoutobjectionâom anyofitsmembers,theSteelingCommitteeapproved


                                            3
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thepurchaseoftheitemsinM s.W olfe'salternaterecomm endationsand,asthem eetinglmfolded,

those item swerea11placed in a Googlespreadsheetto which a11comm itteem embershad access.''

JZ Théspreadsheetincludedtheparticularprojectand room forwhichanitem waspm chased,
theadkertisèdjrice,thefinalnegotiatedprice,thedateordered,andthepm chasecard(:T-Card'')
usedtomakethepurchase. J.
                        Z !43.
        Socolalleges thatthe Steering Comm ittee ap eed thatthe LEAD Department's P-cards

wouldbeusedtomaketv furniturepurchasesapprovedbythecommittee. J#Z! 44. çGln some
                                                                          .




cmses,multiple LEAD P-cardswere used to make fhrniture pm chasesbecause such pm chases

would have exceeded the availablelimiton any one such P-card,which wasclearly noted in the

(sjpreadsheet.'' J.
                  1
                  J-.! 45. The totalnmotmtofthe purchases exceeded $50,000. Ldsa! 46.
However,tlnooneproject(AlbemarleTech,theLEAD space,ortheprofessionallenrningcenter)
hadfurnishingsthatcostintheaggregateinexcessof$50,000.9' 1d. Additionally,tçlnloneofthe
individualpieces offurniture (nor any group offumishings for any one space orpup ose)
authozizedforptlrchaseby theSteering Committee exceeded $5,000 in cost.'' JZ !47. Socol
furtherallegesthatnoneofthe committeemembersobjectedto thepm chases,Eleitherasto the
itemspmchasedorastothemnnnerinwhich suchpm chasesweremade.'' Ll
                                                              J.S!48.
        OnM ay28,2018,Socolreceivedan em ailfrom Thom asW inder,thePurchasing Agentfor
   ?'
Albem arle Cotmty,questioning thefactthatmultiplefurnl
                                                     .ttlrepurchaseshad been made from the

samevendor. J.
             Z !50. Socoldiscussedthefurnittlrepm chasesw1111ReedaDeade,whohandled
thebudgetfortheLEAD Department. Deadeadvised Socolthatttçthisiswhatwedo a11thetim e'

(and)çnoone'seversaidanything.''' Id.!50.
        Afterreceiving W ihder'sem ail,Socolrequested am eetingw1t11W indertçsothathe could

tmderstandwhat,ifanythinj,hadbeendonewrongandhow any issuescouldberesolved.'' J.Z


                                             4
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! 51. 0n June 11,2018,Socolmetwith W inder and otherindividuals,including Assistant
CotmtyM orneyAmandaFarley. Ld.a!53. Dudngthemeeting,Farleytlarguedthatthefnrniture
purchasesforthethreeseparateprojectsshouldhavebeen aggregattd,andasaggregated,would
haverequiredcompetitivebidding.'' 1d.!54.
      '
          On Jtme 14,2018,theSchoolBoard heldaclosedmeeting dllring wllicilitultimately
approvedthefllrniturepmchasesmadebytheSteeringCommittee. J.
                                                          IJ.!f57. Socolsubsequently
lesrned from Haasthatthree SchoolBoard m embershad voted againstapproval,and thatone of

themembershadsuggestedthatSocolshouldbefred. J.t
                                               .
                                               k !59.
          On July 20,2018,Socolm etw1111Jolm Gray,AssistantDirectorofHllm an Resotlrces,and

ClareKeiser,thenDirectorofEducationalQuality,todiscusstheptlrchasing. J.
                                                                       és!60. During
themeeting,KeiseraccusedSocolofptlrchasingfzrnitureforhisownbeneft. JJ-, Socoladvised
'




Gray andKeiserthatsuch accusationwasbothtmtnzeandtmfair. Jl1. Socolallegesthatneither
                                                                   .




henoranyoneelsereceivedany improperbeneftasaresultoftheflzrniturepurchases,andthatthe

SteeringCommittee'sonly goalwasto completetheprojectontimeandwithin budget. Socol
ftzrtherallegesthatthefurnittlreinquestionremainsinusetoday. J#.
          On July 27,2018,Haas and Keiserm etwith Socoland advised him thathistim e w1t11

AlbemlleCounty had Sçscometo an end.''' JZ ! 66. When Socolobjected,Haasadvisedllim
thathehad ççtno rights'here.'
                            '' 1.
                                #., Haasofferedtoallow Socoltoresignandreceiveaseverance
packageifSocolwouldnotspeakpubliclyaboutHaas'actions. JZ However,Socolrefusedto
                                                               .




resign. J#. OnAugust'1,2018,zaassentSocolaletterterminatingSocol'semploymentasof
thatdate. ld.

          Atsom epoint,the SchoolSystem prepared an investigation reportconcluding thatSocol

hadviolatedAlbemazleCountyprocmementpoliciesClnvestigationRepolf). JZ !70;seealso


                                              5
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    Investigation Report,Dkt.No.15-2. 'l'he Investlgation Reportwasnotshared with Socoluntil

    aAerhistermination. J.
                         és!70. Socolallegesthathedidnotreceiveamenningfulopportunityto
    coù
      :
        testthesndingsinthereport. Id.
.



          The SchoolSystem hasam itten policy applicableto thetennination ofemploym entasa

    resultofresignation,layoff,ordismissal(çTerminationPolicy'). Tenuination Policy,Dkt.N o.
         The policy defines tçdismissal''as çsan involtmtary separation 9om employm ent due to

    disciplinaryinfractionsorinabilitytoperform thework.'' Id.at1. Inthecaseofdism issal,Ritis

    expected thatthe principal/depnrtm enthead/designee has thoroughly investigated the incidents

    leading tothedismissal,hasdocllm ented any action taken,andhasapplied disciplinein afairand

    consistentfashion.'' Id. TheTermination Policy furtherprovidesasfollows:

                         The Board shall m ake the fnal decision on a11
                         recomm endationsbythe Superintendentforthedism issalof
                         licensedpersonnel. A voteofthemajorityofaquontm lofj
                         theBoard isnecessary fordisnlissal.

                  B.     The Supedntendentm ay dismiss classified employees and
                         non-licensed abministrative employees for good and just
                         cause. A dism issed employee m ay appeal the decision
                         tmderthe approved grievanceprocedure,exceptforclasses
                         ofem ployeesasdefned inPolicy GBM A.

    Id.at2.

           Socolwas a non-licensed admirlistative employee atthe time ofhis termination. Am .

    Compl.!74. Hedidnotreceiveanyform ofpre-terminationhearing,andhewasGtnotwithinthe
    classofemployeeswhçhavepostrtennination grievancerights.'' J.
                                                                l1.!!75-76.
           Theplaintiffwastheonly em ployeewhowasterminated forthefurniturepm chasesm ade

    bythesteeringcommiitee. J#z!79. Noneoftheothercommitteemembersweredisciplinedin
                                  .




    anymnnner,eventhoughtheentirekommitteeapprovedtheplzrchases. J.Z Theplaintiffalleges
    thatSnoddy,Collins,and Schmitt,çGwho werethem emberjoftheSteedng Comm itteebestableto

                                                 6
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ensure com pliance ofthefum ittlrepurchaseswith theprocm em entregulations,havenotonly not

beendisciplined,buthavebeenpromoted.'' Id.!(80.
       SocolallegesthatHaas made orpublished statem entsabouthistermination to itmultiple

people''outsidetheSchoolSystem. JZ !137. 0nthesnmedaythatSocolwasgiventhechoice
toresign orbeterminaied,HasscalledM oran,theformerSupedntendent,and advisedherofthe

terminationdecisionandthealle'
                             gedreasonsforit. Id.!90. SocolallegesthatheandMoranare
co-authorsand businessassociatesy,and thatHaaswasaware oftheirprofessionalrelationship at

thetimehecontacted M oran. J.Z !91. During thephonecall,Haasindicated thatSocolhad
içtmisused P-cardsdeliberately and egregiously''iand thathehadiçiadm it'ted to the conductin the

(Investigation)Report.''' Id.!!93,96. SocolallegesthatHaas'statementwascompletelyfalse
and.
   thatitimpugnedhisreputation forhonesty,integrity,andmorality. JZ ! 94. Socolfurther
                                                                         .




allegesthatHaassuggested thatthetermination would have a deleteriouseffecton thesalesand

publicity ofthebook thàtSocolhad co-authored with M oran,and thatSocolcould have avoided

theproblem byresigningandacceptingaseveranceagreement. J.
                                                        i !!98-99.
       On August1,2018,the SchoolSystem issued apressrelease nnnotmcing thatSocolw as

Ssno longer...employed by the schooldivision''and thatJnmieForemati,theDeputy Technology

and Innovation Ufficçr,hadbeen chosentoheadtheLEAD Depnrtmenton mlinterim basis. Lda          -




'
! 101;see also Press Release,Dkt.No. 15-1. The press release higlllighted Foreman's
qualifcationsandtheservicesprovidedbytheLEAD Department. J-1J.
                                                             S
       Socolalleges,upon inform ation and beliefkthatHaasalsoinform ed Kevin Castner,another

former SuperinteridentofSchools,ofthe alleged reasons for Socol'stermination. J#= ! 103.
                                                                                       .




w tthintwoweeksoftheadverseemploymentdecision,CastnercalledSocoltodiscusspotential
job prospects. J.Z ! 104. Dudngthephonecall,Ca
                                             'stnersuggestedthatinformation publicized


                                               7
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regarding Socol'stermination could MnderSocol'sability to obtain ajob with anotherschool
division. 1d.

       SocolallegesthattheSchoolSystem tEdidnotprovideEllimqwithapre-publicationhearing
before itsagentspublicizedthealleged remsonsfor(hisqtermination,despitethefactthatthose
reasonsimplicate hisjood nnme and reputation.'' Idk!! 112. Socolfurtherallegesthatthe
publication ofthealleg'ed reasonsforhistermination hasprejudicedhim in llisprofession. Id.
! 113. For instance,an educationalfurnishings company withdrew a preliminary offerafter
learning about Socol's termination. JZ ! 105. çtikewise,the mnmner of (the plaintiY s)
tenninationcosthim aprofessionalopportunity*1111BCW H Architects.'' lê.! 106.
                                         ProceduralH istorv

        Socolfiledtheinstantaction againsttheSchoolBoard and HaasotlOctober1,2018. The

defendantsmoved to dismissthe complaintunderRule 12(b)(6)ofthe FederalRulesofCivil
Procedm e. 0n January 28,2019,the courtheld a hearing on the defendants'motion. Atthe
                        k
conclusion ofthe heàrllig,the courttook the m otion tmderadvisementand granted the plaintiff
                        .




leaveto flean amended complaint.

        0n February 7,'2019, Socolfiled an amended complaintagainstthe defendants,in wllich

heassertsthefolloWingclahns:denialofdueprocessinviolation oftheFoM eenthAmendment
tmder42U.S.C.j 1983 (CotmtsIand 11);breach ofcontracttcount111);and defnmationperse
   .




tcount1V). In response,thedefendantsrenewed theirmotion to dismiss.z 'rhematterisnow
ripe forreview .




        2Theplaintiffhasmoved to striketwo emailexhibitssubmittedin supportofthedefendants'supplemental
brietl '
       I'he court fmds it unnecessary to consider the challenged exhibits at this stage of the proceedings.
Accordingly,themotionto strikewillbedenied asmoot.

                                                    8

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                                    Standard ofReview

       Rule 120946)permitsaparty tomovefordismissalofacomplaintforfailureto state a
claim upon wllich reliefcan be grmlted.   Whendecidingamotiontodismissunderthisrule,the
courtmustaccept.astruea11well-pleaded allegationsand clraw a11reasonablefactualinferencesin
theplal
      kntiffsfavor.
                      Ericksonv.Pardus,551U.S.89,94(2007). tçW hile a complaintattacked
by a Rule 12(b)(6)motion to dismissdoes notneed detailed factualallegations,a plaintiY s
obligation to provide the grotmds of his entitlem ent to relief requires m ore than labels and

conclusions,and aformulaicrecitation oftheelementsofacauseofaction willnotdo.'' BellAtl.

Corp.v.Twomblv,550U.S.544,555(2007)(intérnalcitationmldquotationmarksomitted). .
                                                                               To
survivedismissal,$1acom plaintmustcontain sux cientfacm alm atter,acceptedastnle,to lstatea

claim for relief that is plausible on its face.''' Ashcroftv.Iqbal,556 U.S.662,678 (2009)

(quotingTwomblv,550U.S.at570).
       SçAlthoughamotionptlrsuanttoRule 12(b)(6)invitesaninquiryintothelegalsuo ciency
ofthe complaint,notan analysis ofpotentialdefensesto the claim s setforth therein,dismissal

nevertheless is appropHate when tlie face of the complaint cleady reveals the existence of a

medtoriousafsrmativedefense.'' Brooksv.Citv ofW inston-salem,85F.3d 178,181(4thCir.
1996). Onesuch defenseisthestamteoffrauds. SeeALA.Inc.v.CCAIR.Inc,,29 F.3d 855,
                                                                    .




859 (3d Cir.1994)(Gç(A)complaintmay be subjectto dismissaltmderRule 12(b)(6)when an
affirmativedefense'likethestatuteoffraudsappearson itsface.'');seealso GreenbeltVentures.
                                                                                   '
 .


LLC v.W ajh.M etro.AreaTransitAuth.,481F.App.x 833,837-39(4'
                                                           tl&èir.2012)(holdingthat
acontractclaim wasbarred by the statm e offraudsand therefore properly dism issed underRule

12(b)(6)).




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                                          D iscussion

       1.     Claim sunder1 1983

       ThecourtwillsrstaddressSocol'sclaimstmder42U.S.C.j 1983,which imposescivil
liability on any person acting tmder color of state 1aw to deprive another person of rightsand

pdvilegessecm edbytheConstitutionand lawsoftheUnitedStates. See42U.S.C.j1983. In
Cotmt 1, Socol claims that the defendants deprived him of a property interest in continued
'
em ployment without providing due process. In Count II,Socol claim s that the defendants

depdved M m ofa liberty interestin his reputation and good nnm e withoutnffording him due

PrOCCSS.

       ThedueprocessclauseoftheFourteenth Amendm entprovidesthatçtno stateshalldeprive

anypersonoflife,liberty,orproperty,withoutdueprocessoflam '' U.S.Const.nmend.XIV,j1.
In order to establish a due process violation, çta plaintiff m ust srst show that he has a

constimtionally protected Sliberty'or çproperty'interest,and thathehasbeen Sdeprived'ofthat

protected interestby som e form ofçstate action.''' Stone v.Urliv.of M d.M ed.Svs.Com .,855

F.2d 167,'172(4th Cir.1988)(citationsomitted). Iftheplaintiffm akessuch showing,the court
considers whatprocess wasrequired and whether any provided was adequate in the particular

factualçontext. J#a.
       A.     Pi-opertvInterest
       In movingto'
                  dismissCotmt1, thedefendantscontend thatSocolhasfailedto dem onstrate

that he had a constim tionally protected property interest in M s continued em ploym ent as CTIO .

Forthe follow ing reasons,the courtagrees.

       In thepublic em ploym entcontext,ççitisnotenough foraplaintiffto dem onstrate thathe

haslostMsjob.'' Herman v.Lackey,309 F.App'x 778,783 (4th Cir.2009). tslnstead,the



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  relevant inquiry is whether the plaintiff possessed a protectable property interestin his .. .

  continued employment.'' JZ CETO have aproperty interestin abenefit,a person clearly must
  havem orethan an abstractneed ordesireforit. Hemusthavemorethan allnilateralexpectation

  ofit. Hem ust,instead,havealegitim atéclaim ofentitlem entto it.'' Bd.ofRezentsv.Roth,408

  U.S.564,579(1972). Gt-fhus,onlywheretheemployeehasalegitimateentitlementtocontinued
  em ploymentdo the requirem entsofdue processattach.'' Roysterv.Bd.o
                                                                    'fTrustees., 774 F.2d

  618,621(4thCir.1985)(citationsomitted).
            Property interests are notestablished by the Constitution. Rather,they tçare created and

  theirbimensionsaredefined by existingrulesortmderstandingsthatstem 9om an independent
  source such as state law .'' Roth,408 U.S.at 577. çsln the contextof employment in public

  education,the independentsourcefortheproperty interesthasbeen said to be a contractwhich

  providesforcontinued employm ent,andwhich canbeterm inated only forgoodcause.'' Royster,
. .

  't.

      774 F.2dat620-21(citationsomitted);seealsoLoganv.Zimmerman BrushCo.,455U.S.422,
  430 (1982)C'
             Fhehallmark ofproperty,theCourthasemphasized,isan individualentitlement
      poundedih statelaw,which cnnnotberemoved exceptçforcause.''')(citationsomitted). Ifan
      employee is terminablè at will under state law ,then he has no m otected property interest in

      continuedemployment. SeeHerman,309F.App'x at783(tçAn at-willemploymentrelationsMp
      doeshotcreate aprotectableproperty interestin continuedemploymentforj 1983purposes.'')
      (citingRoth,408U.S.at577-78);seealsoCominelliv.Rector& VisitorsoftheUniv.ofVa.,589
      F.Supp.2d 706,713 (W .D.Va.2008)Cln Virginia,an at-willgovernmentemployee Ghasno
      legitimateexpectancy ofcontinuedemploymentand thushasnoprotectibleproperty interest-''')
      (quotingJenkinsv.W eatherholtz,909F.2d 105,107(4thCir.1990:.




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       inthiscase,itistmdisputedthatSocolhadnowrittencontractforcontinuedemployment
with the, SchoolBoard.3 Socolnonetheless arguesthattwo sotlrcesgave rise to an enforceable

expectation ofcontinued employm ent. Hefirstpointsto hisconversation with Haasin M arch of

2418,duringwhichtheyallegedly agreedthatSocolwouldremaininthepositionofCTIO forthe

duration ofHaas'tenmeasSuperintendent. SeeAm.Compl.! 18;seealsoP1.'sBr.Opp'n 12,
Dkt No.9(assertingthattheplaintiffapdHaashadamutually explicittmderstandingthatKhis
timeasCTIO would span manv years'')(emphasisadded). Socolalso citestotheTermination
PolicythatpermitstheSuperintendenttodism issnon-licensedadm inistrativeemployeesforgood

and'
   justcause.
       Theplaintic sreliance on the alleged oralagreem entin M arch of2018,when Haaswas

DeputySujerintendenksuffersfrom twofataltlaws. First,Socoldoesnotcite,and the èourthas
notlocated,any authority indicating thutan assistantordeputy supedntendenthasthe powerto

bind a public schoolboard to an employm entcontract. To the contTary,<tvirgirlia authorities

suggestthatasuperintendentisnotanagentforamemberoftheschoolboard,landcnnnotqenter
into orterm inatecontractsin areasnormally reserved to theschoolboard.'' Dennisv.Ctv.Sch.

Bd.,582 F.Supp.536,542 (W .D.Va.1984)(emphasisadded)(citingLeggv.Cty.Sch.Bd.,160
S.E.60 (1931)). Sucllareasplainly includeemploymentcontracts. See Va.Code j22.1-313
(GTheschoolboardshallretain itsexclusivefsnalauthority overlattersconcemingemployment
andsupervisionofitspersonnel.'');Id.j22.1-293(GW schoolboard,uponrecommendationofthe
division superintendent,may employ principalsand assistantprincipalsz');ld.j 22.1-302 (ç1A
writtencontract...shallbemadebytheschoolboardwitheachteacheremployedbyit....'');8

         3In Virginia,Stlsqchoolsare required by state 1aw to issue conkactsto teachers,principals,assistant
principals,andtsupervisors.''' Sullivanv.W arrenCty.Sch.Bd.,49Va.Cir.226,229(Va.Cir.Ct.1999)(citingVa.
Codejj22.1-302,22.1-294). Es-f'  heterm 'supervisor'asstamtorilydefmedislimitedtoafew positionsforwhicha
license isrrquired bytheBoard ofEducation.'' Id. Because SocolwasafEnon-licensed administrativeemployeey''
Am.Compl.!(74,awrittenconkactwasnotrequiredtmderstatelaw.
                                                    12

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V.a.Admin.Code j 20-490-20 (sûcontracts wi
                                         th teachers shallbe executed on behalfofthe
(schooljboardbythechairmanandtheclerk.'').
         Second,as discussed m ore fully below,itisclear from the nm ended complaintthatthe

alleged oralar eementcontemplated em ploym entforaterm ofm orethan oneyear. Becausethe

ap eem entwasnotreduced to m iting,itdoesnotcomply with Virginia's stamte ofgaudsand

cnnùotbe enforced..See Va.Code j 11-2 (providing thatçtany agreementthatisnotto be
performedwithinayear''mustbeSçinwritingandsignedbythepartytobechargedorllisagentn);
seealsoW altonv.GreenbrierFord.Inc.,370F.3d446,454(4thCir.2004)(holdingthatthestatute
oft'
   raudsbarredtheplaintic stsattemptstorelyonallegedoralpromise'sthat(thedefendantjmade
regardingathree-yearemploymentcontracf).
         Forboth ofthese reasons,Socolcannotplausibly allege thathehad aprotected property

interestin continued employmentbased on thepurported oralapeem entwith Haas. See,e.g.,
     '                                                        ,    .           .


Haclinv.CityofAlcona,42F.App'x55,57(9thCir.2002)(holdingthatplaintiffhadnoproperty
                            '
                    a
intetest in ctmthmed bmploym ent with the city because the m ayor did nothave authority to

contractforathree-yearterm ofemployment);M illerv.CrystalLakeParkDist,47F.3d 865(7th
Cir.1995)(observing fhat$çapromisenotenforceablebecause ofthe statuteoffraudsdoesnot
createa çproperty'interesf');M ahon v.GreenvilleM em'lAuditorillm,No.90-2438,1991U.S.
                '
            .



App.LEXIS 7881,at*6 (4th Cir.Apr.30,1991) (holding thatan alleged oralemployment
agreementviolated South Carolina'sstatuteoffraudsandthereforedid nbtgiveriseto aprotected
                        '
 .

projeriyinterest).
         Sobol's reliance on the Termination Policy fares no better. As indicated above,the

provisiononwhichSocolreliesstatesthatçsltqheSuperintendentmaydismissclassifedemployees
andnon-licehsedadministrativeemployeesforgoodandjustcause.'' TerminationPolicyat2. It



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doesnotstatethatnon-licensedadministrativeemployeesshallonlybedismissedforgoodandjust
cause. Nordoesitstatethatnon-licensedadm inistrativeem ployeeswillnotbedism issedwithout

justcause. W ithoutsuchlanguage,itisclearfrom existingprecedentthatthepolicyprovisionis
insuflki:ntto rebutthe strong preslzm ption ofat-willemploymentin Virgirlia. See County of

Gilesv.W ines,546S.E.2d 721,723 (Va.2001)(holdingthatsimilarpolicylanguageindicating
thatanGççemployeemaybedischargedforineftkiency,insubordination,misconduct,orotherjust
cause'''was insufficiehtto rebut the '
                                     prejllmpiion of at-will employment). Therefore,the
Termination Policy provides Stno property z'ightwhich isprotected by the federalconstitution.''

J.
 I.
  J.Sat725;seealsoForemanv.Griffth,81F.App'x432,437-39(4thCir.2003)(applyingCotmty
ofGilesinaffinningthedismissalofapropertyinterestclaim).
       Forthese reasons,the courtconcludesthatSocolhas failed to allege suffk ientfactsto

establish that he had a protected property interest in llis continued employm ent as CTIO.

Accordingly,he cnnnot sustain his property interest claim tmder the Fourteenth Amendm ent.
Thus,thedefendants'm otion willbegranted asto Cotmt1.

       B.     Libertv Interest

       In Cotmt11,Socolclaim sthathe was depdved ofa liberty interestwithoutdueprocess.

M orespecifcally,Socol:ssertsthatthedefendantsviolatedtheFourteenth Am endm entbyfailing

to affordhim adequateprocessbeforepublicly disclosing the reasonsforltisterm ination.

       Sçpublicemployees,evenwhen lawfully discharged,enjoytheSfreedom totakeadvantage
of other em ploym entopportunities.''' Cnnnon v.V ill.of Bald H ead Island,891 F.3d 489,501

(4thCk.2t18)(quotingRoth,408U.S.at573). CTMSincludesthedghttobeçfreefrom arbikary
restrictions upon the opporttmity for other gainful em plom ent stemm ing f'
                                                                           rom the reasons

voltmtarilygiven bygovemmentforlawfully term
                                           'inating ...at-willpublicemployment''' L/a        .




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(quoting Johnson v.M onis,903 F.2d 996,999 (4th Cir.1990:. Consequently,RaFourteenth
Amendmentçliberty interestisimplicatedbypublicnnnolmcementofreasonsforanemplofee's
                     .                 '
                     .

discharge.''' Sciolino v.Citv ofNewnortNews,480 F.3d 642,645-46(4th Cir.2007)(quoting
Johnson,903F.2dat999).
    '
        Thisparticulartypeofdueprocessclaim hascometo beknown asaEtstigna-plus''clahn.

See Evansv.Chalmers,703 F.3d 636,654 (4th Cir.2012).'The claim hastwo components.
Cnnnon,891F.3d at501. First,theplaintiffmustestablish thathehasbeen deprived ofa liberty

interest. Ld..
             a Todoso,<$aplaintiffmustallegethatthechargesagainstMm :(1)placedastigrùa
on hisreputation;(2)weremadepublicbytheemployer;(3)weremadein conjunction with his
tennination ordemotion;and(4)werefalse.'' Sciolino.480F.3d at646. Second,theplaintiff
m u'stdemonstratethathewasdeprived ofsuch interestwithoutduepröcess,which in thiscontext

involvesnoticeand an opporitmityto cleartheplaintiY snnm e. Cnnnon,891F.2d at501-02.

        In !hesm ended complaint,Socolspecifically allegesthathewasnotafforded any form of
hearing orother opportunity tb contestthe pttrported reasonsforM stermination and attemptto

clearltisname. SeeAm.Compl.!! 76,112. Consequently,thecourtmustdeterminewhether
Socolhasallegedfactsimplicatingaprotectçdlibertyinterestforwhich dueprocesswasrequired.

In llià nmended complaint,Socolpoints prim arily to two statements in supportof his liberty

interestclaim . First,SocolallegesthatHaasinformed M oran and qthersofthealleged basisfor

his termination,nnm ely that Socolhad Sçtm isused P-cards deliberately and egregiously.''' Id.

!! 93,103. Second,jocolcitestothepressreleasepublished on August1,2018,in which the
SchoolSystem nnnounced thatSocolwasçsno longer...employed bytheschooldivision.'' Press

Relçaseat1$seealsoAm.Compl.! 101. Forthefollowingreasons,thecourtconclubesthat




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Socol has stated a plausible claim for relief based on Haas'statem ent to M oran and others

regardingthe alleged basisforSocpl'stermination.

       In order to implicate a protected liberty interest,a plaintiff m ust demonstrate that a

statem entwasmade aboutllim thatplaced astigm aonhisreputation. Sciolino,480F.3d at648.

GlF'
   orovertllirtyyears,EtheUited StatesCourtofAppealsfortheFottrth Circuit)hasheldthata
governmentaldisclosureplacesa stigma on a formerùmployee sttfficientto give riseto a liberty

interest claim if it implies the existence of serious character defects such as dishonesty or

immorality.'' Cannon,891F.3dat502 (citationsomitted). In mssessing liberty interestclaims,
theCourthasStdistinguished statem entsthatim ply such seriouscharacterdefects9om statem ents

thatsimply allege incom petence.'' Ridpath v.Bd.ofGovernorsM arshallUzliv.?447 F.3d 292,

j08(4thCir.2006)(citationsomitted). Viewingtheallegationsinthelightmostfavorabletothe
plaintiff,the court concludes that Haas' statement regarding the alleged basis for Socol's

term ination did m ore tha11suggestthatSocolwasihcompetentasCTIO. Instead,by indicating

that Socol deliberately and egregiously m isused purchase cards,Haas insinuated that Socol

engaged in dishonestconductand therefore im plied the existence ofa serious characterdefect.

See Cox v.N.Va.Transp.Comm'n,551F.2d 555,557-58(4th Cir.1976)(affirmingthet'
                                                                           I'iaI
court'sdetermination thattheplaintic slibertyinterestwasinfringedwhen heremployerpublicly

linkedherdischarge.
                  toaninvestigationoffinancialirregulnrities,thusçsinsinuatingdishonestyn);
M cNeillv.Butz,480F.2d314,319-20(4thCir.1973)(concludingthatfederalemployees'liberty
                        .




interestswereimplicatedbychargesthatG&smackled)ofdeliberatefraud''andGlineffectallegeld)
dishonçst/). Accordingly,atthis stage of the proceedings,the courtconcludes thatHnnR'
accusationplaced a constimtionally cognizablestigm aon theplaintiffsreputation.




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       Socolhasalso sufficiently allegedthatHnnq'statem entwastEmadepublic.'' Sciolino,480

F.3d at647;seealso Ridpath,447 F.3d at342 ($11n orderto invoke dueprocessprotections,a
chargeofaseriouscharacterdefectmustbepublicly disclosed.''). TheFourth Circuithasheld
that the element of public disclosure is met if a statem ent was actually dissem inated to a

prospectiveemployerorthepublicatlarge,orifthereisalikelihood ofacm aldisclosure. Id.at

648 n.4,650. In thiscase,SocqlallegesthatHaasinform ed m ultiplepeople outside the School

System ofthe alleged basis for Socol'sterm ination,including M oran and CasGer. The court

concludesthattheplaintiffsallegationsaresufficientto satisfy thesecond elem ent.

       To satisfythetiirdelement,theplaintiffmustallegethatthestigmatizing statementwas
lçmade in conjtmction with Mstermination ordemotion.'' Id.at647. Thiselementisemsily
satisfied here. SocolallegesthatHaas'conversation with M oran took placeonthesnm edaythat

Socolwasadvisedofhisterm ination,andthatthealleged basisfortheterm ination wassharedwith

Castner lhortly thereaAer. Accepting the plaintic s allegations as true, Haas disclosed the

infonnation atissueconcurrently with,orin closeproxim ityto,theplaintic stennination.

       To satisfy the fourth and final elem ent,the plaintiff must allege that the stigm atizing

statem ent was false. Sciolino, 480 F.3d at 647. Ir1 the nm ended com plaint,the plaintiff

expressly disputesthç yeracity ofthe accusation madeby Haas. SocolallegesthatHaasfalsely
                     .




indicated that Socol had m isused purchase cards, and that the assertion that Socol <çdid so

deliberatelyandegregiouslyisalsofalse.'' Am.Compl.!94. SocolemphasizesthatheSçwasbut
ohem emberofthe Steering Comm itteey''thatlçallofthe members approved the purchases,''and

that he remsonably relied on Snoddy, Schm itt, and other m em bers to çGenstlre procm em ent

compliance.'' Id.!! 79,86. Socol further alleges thatno one on the Steering Committee
received ariy improperbenefitasa resultofthefllrnittlrepurchasesand thatthecom mittee'sonly




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goalwastocompletetheprojectontimeandwithinbudget. J-I.
                                                     L!62. Suchallegations,accepted
astrue anb taken collectively,are suxcientto satisfy the fourth element. Thus,the court
concludes that Socolhas stated a plausible liberty interest claim based on Haas'statem entto

M oran and othersm gardingtheallégedbasisforSocol'sterm ination.

         The same cnnnotbe said,however,ofthe pressrelease. As indicated above,the press

release simply reported that Socolwas no longerem ployed by the SchoolSystem . The press
t                     2 '
release did notindicate thatSocolhad been term inated,m uch lessprovide any reasonsforhis
termination. Becausethepressreleaseaccurately reflected theplaintiY sem ploym entstatusmld

included no additionalstatem entsthatwould imply the existence ofseriouscharacterdefects,the

courtconcludesthatthepressreleasedoesnotgiveriseto aviablelibertyinterestclaim . See.e.a.,

M artink.CitvofGlascow,882F.Supp.2d903,914(W .D.Ky.2012)(holdingthatapressrelease
nnn   luncingthatapublicemployeehadbeen dismissedforviolationsofdepnrtmentalpolicy did
notsûpportalibertyinterestclaim sinceitdidnotSdbearl)uponthe(theplaintic sqimmoralityor
dishonesty');V illerv.Hamm,No.1:10-cv-00243,2011WL 9185,2011U.S.Dist.LEXIS 141,at
*38(D.M d.Jan.3,2011)(emphasizingthatStlmlereimmendo,wheretheunderlyingstatementis
true,isnotsufficienttogiverisetoaconstitutionalcln1
                                                  'm'').
         C.    D efendants'Liabilitv

         Having concluded thatthe nm ended com plaintstates a plausible liberty intemstclaim

basedonHaas'statement,thecourtmustdeterminewhetherthedefendantsaresubjecttoliability
underj1983. ThecotlrtconsidersinturnthepotentialliabilityoftheSchoolBoardandHaas,the
latterofwhom issued'in both hisoffkialandindividualcapacities.




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              T he SchoolBoard

       TheSchoolBoardisamlmicipalentityforpurposesofj1983. SeeLove-Eanev.M artin,
355 F.3d 766,782 (4th Cir.2004). M tmicipalentitiesma8notbeheld liabletmderthe stamte
m erely becaujethey employed atortfeasor. M onellv.Dep'tofSocialServs.,436U .S.658,691

(1978). Instèad,theplaintiffmustplausiblyallegethattheexecutionofapolicyorcustom ofthe
mllnicipalentity caused theviolation oftheplaintiœ sconstitutionalrights. Seeid.(explaining
that$Gitiswhen execution ofa governm ent'spolicy orcustom ,whetherm adeby itslawm akersor

bythosewhoseedictsoractsmayfairlybesaidtorepresentofficialpolicy,inflictstheinjurythat
thegövennmentasan entil isresponsibleunderj 1983'').
       In attempting to establish mllnicipalliability,SocolallegesthatHaas'actionsKrepresent

theoo cialpolicy ofiheBoard and Ethe SchoolSystemq.'' Am.Compl.! 115. The Supreme
CourthasrecognizedthatS'mlmicipatliabilitymaybeimposedforasipgledecisionbymllnicipal
polichniktrstmderappropriatecirc'lmstances.'' Pembam v.CitvofCincimvati,475U.S.469,
480(1986:. çç'
             l-o qualify asa $fma1policymaking offkial,'amllnicipaloffkialmusthavethe
respbnsibility and iuthoritytoimplem entfm almunicipalpolicy with respectto aparticularcourse

ofactiom'' ltiddick v.Sch.Bd.oftheCitv ofPortsmouth,238 F.3d 518,523 (4th Cir.2000)
(emphasisin odginal);see also Davison v.Randall,912 F.3d 666,689 (4th Cir.2019)(Gllqn
assesjing whether a municipality m ay be held liable forconstitutionalor statutory violations of

their decisionmakers, the touchstone inquiry is whether dthe decisionmaker possesses final

authority to establish'mlmicipalpolicy with respectto the action ordered.'') (emphasis and
alterationinoriginal)(citationsomitted).
       R'rhe question of who ppssesses inal policym nking authority is one of state lam ''

lkiddick,238F.3d at523 (citingPembatm 475 U.S.at483). In answeringthisquestion,courts



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lGmustlook totherelevantlegalm aterials,including stateand localpositivelaw,aswellascustom

orusage having the force of lam '' Id.(internalquotation marks and citations omitted). As
relevanthere,Virgiia 1aw provides thatçGltjhe schoolboard shallretain its exclusive final
authority over m atters concem ing employment and supervision of its persormel, including

dismisszsandsuspensions.'' Va.Codej22.1-313(emphasisadded).
                               '   .,

       Although Socolcorrectly pointsoutthatGGtsnalpolicym aking authority m ay bedelegated,''

Riddick,238 F.3d at523,theam ended com plaintdoesnotplausibly allegethattheSchoolBord

delegated any such authority in this case. Jnstead,Socol makes only vague and conclusory

allegations in this regard,which are insuo cientunder Twombly and Iqbal. See Am .Compl.

! 115(Gsupon irlformation andbelief,theBoard delegatedauthorityto itsagentsandemployees,
including Dr.Haas,to formulate,develop and adm inisteremploymentand personnelpoliciesand

practicefortheBom'dand EtheSchoolSystemq,includingthosepoliciesandpracticesthatcaused
M r.Socolthednmàgeshehasalleged.n). Moreover,the mere factthatHaaswaspermittedto
dismissnon-licensed admizlistrativeemployeesforgoodandjustcausetEsimplycannotestablish
thathe had the broaderailthodty to craftmlmicipalpolicy.'' Robinson v.Baloz,160 F.3d 183,

190(4thCir.1998). ççln otherwords,thereisamarkeddifferencebetweençtheauthoritytomake
finalpolicy (and)the authority to make snalimplementing decisions.'' Htmterv.Town of
M ocksville,897 F.3d 538,555 (4$h Cir.2018)(quoting Greensboro Prof'lFire FichtersAss'm
Local3157v.CityofGreensboro,64F.3d962,966(4thCir.1995:. Thus,whileHaasmayhave
had the discretion to dl
                       Lsm iss certain em ployees, u:
                                                    (tlhe discretion to ja1
                                                                          .
                                                                          re an(jjse does noj
necessadly include responsibility for establishing related policy.'' W eensboro Profl Fire
tiahtirs,64F.3dat966. Intheabsenceofsufscientfactualallegationsf'
                                                                rom whichthecourtcan
reasonably inferthatHaashadfinalpolicymakingauthoritywith respecttotheactionsatissue,the


                                             20
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courtconcludes thatthe plaintic s attemptto establish mllnicipalliability on tllisbasismustbe

rejected. Robipson,160F.3dat190.
        The sam e istrue for Socol'sconclusory assertion thatthe SchoolBoard ratified Haas'

actions. SeeAm.Cömpl.! 117 (alleging,inthealternative,thatçitheBoard'sdecision to ratify
M r.Haas'sactionsconstituteafinaldecisionoftheBoard''
                                      .             ). Socoldoesnotallegethatmembers
oftheSchoolBoardknew thatHaasintendedtopublicizethebasisforSocof'sterminationwithout
                       :                                                                   ,
providing a nnme-cleanng hearing,much less plausibly dem onstrate thatthey ratifed Haas

decision. In short,theplaintiY sbareallegation ofratifcation isinsuY cientto withstandreview

tmderRule 12(b)(6). See Barret'
                              tv.Bd.ofEduc.,13 F.Supp.3d 502,512 (E.D.N.C.2014)
(holding thattheplaintiffsSifailed to sum ciently allegefactssupporting atheory ofmtmicipal
liabilitytmdeij1983thatsatisfesthe12(b)(6)pleadingstandard''wheretheplaintiffs'complaint
offeredtsnohèn-conclusoryfactualallegations''insupportofsuchclaim);Leev.O'M a11ey,533F.
Supp.2d $48,553 (D.M d.2007)(emphasizing thatconclùsory statementsare insufficientto
supportm lmicipalliability tm derM onell).

       For these reasons,the courtconcludes that Socolhas failed to plead sufficient factual

allegationstosupportaclaim ofmunicipalliabilityunderj1983. Aqcordingly,Count11willbe
                                  '
               .

dismisse'
        d w1t11respecttothe SchoolBoard.

       2.     H aas

       Thecourtturnsnextto Socol'sliberty interestclaim againstHaas,wllichisbroughtagainst

him in both hisofficialand individualcapàcities. UnderFout'th Circuitprecedent,the j 1983
claim againstHaàs in his oo cialcapacity as Supedntendentis Eleséentially a claim againstthe

Board and thus (mustl be dismissed as duplièative.'' Love-Lane,355 F.3d at 783 (citing




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Kentuckyv.Grahnm,473U.S.159,165--66(1985:. Totheextentthatthelibertyinterestclaim
isassertedagainstHaasin hisindividualcapacity,Haasassehsthedefenseofqualisedim munity.
                                         '
                         .

       Qualified immtmity protecis govemmentofficials f'
                                                       rom civilliability çlinsofar as their
conductdoesnotviolate cleady established statutoryorconstitutionall'ightsofwhich areasonable

person would haveknown.'' Harlow v.Fitzgerald,457 U.j.800,818 (1982). Thebm den of
provingthedefensettiestsontheparty seekingtoinvokeit'' W ilson v.PrinceGeorge'sCty.,893

F.3d213,219 (4th Cir.2018). Toprevailunderthisdefense,thedefendanthasto Sçshow either
thatthere wasno constitutionalviolation orthatthedghtviolated wasnotclearly established.''

Greggv.Hnm,678F.3d333,347n.7 (4thCir.2012)(citingHem'yv.Purnell,652F.3d524,531
(4thCir.2011)(enbancll.
       ln this,
              case,thecourthasalready determinedthatthenm ended complaintplausibly alleges

thatHaasviblatid theFourteenth Amendm entby failingto afford Socoladequateprocessbefore

publicly disclosing thereason forhistermination. Consequently,the courtmustdecidewhether

the constitutionalright'atissue wasclearly established. ççFor a rightto be clearly established,

thereneed notbetacasedirectly onpoint,butexistingprecedentm usthaveplacedthestatutory or

constitutionalquestion'beyonbdebate.''' Cnnnon,891F.3d at497 (quotingAshcroftv.al-r dd,
563U.S.731,741(2011(
                   9. Stateddifferently,1çaconstimtionalrightiscleadyestablishedwhen
Gitscontoms (arejsufficiently clearthatareasonableoflicialwould tmderstnnd thatwhatheis
doingviolatesthatright-''' Ridpath,447 F.3d at313.
       At the tim e of Socol's termination in Augustof 2018,itw as cleady established that

tGmnoticeand an opportunityto beheard areessential'when apublic employee'sliberty interestis

infringed by a charge implying such serious characterdefectsas tdishonestyl)orimmorality'
lodgedinthecourseofan injury such asfailtlretorehire.''' Id.(quotingRoth,408U.S.at573).


                                             22
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çilnthewakeofRoth anditsprogeny,(theFourthCircuit)hasreiteratedandexpotmdedonthe
requirem ents of such a liberty interestclaim on mlmerous occasions.'' Id. For instance,the

Fourth Circuithasprovided çGconcrete exnmples ofthe typesofpublic statem ents implying the

existence of serious characterdefects such àsdishonesty and immorality.'' J;.sat314. The
exnmplesinclude a statem entlinking an employee's discharge to the investigation of financial

irreguladties. J.I
                 .
                 J.(citing Cox,551F.2d at557-58). Atthisstageoftheproceedings,thecourt
can discem no m eaningfuldistinction between such statem entand Haas'statementtying Socol's

terniination to thedeliberateandegregiousm isuseofpm chasecards. tçln each ofthesescenazios,

thecharge atissuecan betmderstood to insinuatedishonesty and otherseriouscharacterdefects.''

Id. Consequently,existing precedentgave Haasççfairwarning''thatthe accusation atissuewas

Gjustthetypeifc'hargethatimplicatesaprotectedlibertyinterest.'' Id.
       Existingprecedentalso establishedthatSocolwasentitledtoannm e-cleadnghearingprior

tothepublicdisclosm eoffalse information regarding thebasisforhistermination. Cnnnon,891

F.3d at506 (citing Sciolino,'480F.3d at653). BecauseSocolallegesthathewasnotprovided
witùanyproqeduralsafeguardsbeforeHaaspubliclydisclosedthestigmatizingandallegedlyfalse
inform ation atissue,tlp nm ended complaintstatesaviolation oftheplaintiffsclearlyestablished

l'ighttodueprocess. SeeRidpath,k47F.3dat315. Accordingly,acceptingtheallegationsofthe
am ended complaintastnze,Hasscontravened a clearly established Fotirteenth Am endmentright

of which a reasonable person would have known. Hass therefore is notentitled to qualised

im m llnity atthis stage oftheproceedings with respectto CountII.




                                             23
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      lI.    Claim sunder state law

      Inadditiontohisclaimstmderj1983,Socolassertstwoclaimstmderstatelaw. InCount
111,Socolmssertsa claim forbreach ofcontractagainstthe SchoolBoard. In CotmtlV,Socol

assertsactaim fordefnmationperseagainstHaas. 'rhecourtwilladdresseachclaim intum.
      A.     Breach of contract

      In supportoftkeclaim forbreachofcontract,SocolallegesthattheSchoolBoard,through
itsagent,Haas,orally agreed forSocolto remain asCTIO forthedm ation ofHaas'employm entas

Supedntendent. Socolfurtherallegesthatthe Board breached the oralcontractby term inating

Socol'semployment.

      Thecourtagreeswiththedefendantsthatthisclaim issubjecttodismissal. Asindicated
above, the nmended com plaint does not plausibly allege that Haas,who was then Deputy

Superintendent,had authority to bind the SchoolBoard to an oralemploym entagreem ent. See

Va.Codej22.1-313;Dennis,582F.Supp.at542. Additionally,Virgila'sstatmeoffraudsbars
enforcem entofan oralpromiseofem ploym entforaterm ofm orethan oneyear. SeeW alton,379

F3dat454(citink'Va.Code.j11-2);seealsoFallsv.Va.StateBar,397S.E.2d671,672-73(Va.
1990)(holdingthatthestatuteoffraudsbarredenforcementofanemploymentcontractthatwasto
continueaslongastheemployee'sjobperformancewassatisfactory). UnderVirginialaw,Haas
wasrequiredtoserveGianinitialterm ofnotlessthantwoyears,''Va.Code j22.1-60,andHaas
advisedSocolthatheplnnnedtoservetwofour-yearterms. SeeAm.Compl.! 19;seealsoP1.'s
Br.Opp'n 12(assertingthattheplaintiffandHaasmumallytmderstoodthattheplaintiY sEçtimeas
CTIO would span many years'l. Because Socoland Haas allegedly apeed thatSocolwould
rem ain in theposition ofCTIO fortheentiredm ation ofHaas'tentlre,thepurported employm ent

agreementwasnotcapable ofbeing fully performed witllin one year. Consequently,itis clear


                                           24
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f'
 rom the am ended complaintthatthe contractclaim based on such agreem entis ban'
                                                                               ed by the
statttteoff'
           rauds.4 Accordingly, thedefendants'm otion todismisswillbegranted asto Cotmt111.

       B.      D efam ation per se

       ln CountW ofthe am ended complaint,SocolclaimsthatHaasdefamed him by m aking

statements to M oran and others regarding the purported basis for Socol's term ination. Socol

contendsthatsuch statem entsaredefnmatory perse.

       Tostateaclaim forY famationtmderVirginialaw,aplaintiffmustplausiblyshow thatthe
defendant(1)published (2)an actionablestatementwith (3)therequisiteintent. SeeChapin v.
Knight-m dder.Inc.,993 F.2d 1087,1092 (4th Cir.1993)(citing Gazette.Inc.v.Harris,325
S.E.2d 713 @ a.1985:. G$To be Gactionabley'the statementmustbe notonly false,butalso
defnmakozy 'thatis,itmustGtendl)so to harm thereputation ofanotherasto lowerhim in the
estimation ofthecomm llnityortodeterthirdpersonsfrom associatingordealingwithhim .''' Id.

(quotingRestatement(Second)ofTortsj559).
       Certain statementsaredefnmatoryperseunderVirginialaw,including(1)S4ltlhosewhich
imputeto apersonunfimesstoperform thedutiesofan offceoremploymentofprotk,orwantof

integrityin thedischargeoftheduiiesofsuch an offkeoremploymenf';and (2)Stgtqhosewhich
Prejudicesuch person in hisorherprofession ortrade.'' Tronfeld v.NationwideV ut.Ins.Co.,
636S.E.2d447,449-50(Va.2006)(quotingFlemincv.M oore,275S.E.2d632,635(Va.1981:.


         4 Although a contractthat does not satisfy the stamte of frauds may stillbe enforced tmder certain
circllmstances,CotmtI1Idoesnotstatea claim forwhich reliefcould bep anted,even in theabsenceofawriting.
Thepartialperformancedoctrinecitedby theplaintiffisan equitableremedythat'çdoesnotoperatein actionsatlaw
fordamagesforbreach ofcontractto takethe contractoutofthe statute offrauds.'' Lance J.M archiafava.Inc.v.
Hafk777F.2d942,946(4thCir.1985);seealsoMianv.ArmenianAssemblyofAm.ReliefFund-No.93-2385,1994
U.S.App.LEXIS30511,at*6-7(4thCir.1994)(rejectingtheplaintiffsargumentthathispartialperformanceofthe
allegedemploymentcontractremovedthecontract9om thestamteofgauds);Falls,397S.E.2dat672(holdinjthat
stamteoffraudsbarredenforcementofanemploymentcontractdespitethefactthattheemployeeleftanotherlobin
relianceupon the employer'soralassurancesand satisfactorily performedhisjob responsibllitiesfornearly two
years).       '
                                                   25
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    For such statements,Virginia law presllmes that the plaintiff stzffered actual damage to his

    reputation and;therefore,noproofofdnm age isrequired. Flem ing,275 S.E.2d at636.

           A defa'm atory statem entm ay be m ade in direct terms or by ie erence,insinuation,or

    implication. Perk v.Vector Res.Grp.,485 S.E.2d 140, 144 (Va. 1997). Although EEptu'
                                                                                      e
    expressions of opizlion'' cannot ordinarily form the basis of a defnmation claim , EEfacm al

    statementsmadeto supportorjustifyanopinioncan.'' W JLA-TV v.Levin,564S.E.2d383,392
    (Va.2002)(internalquotationmarksomitted). Accordingly,statementsthatareverifably false
    orcontain tçprovably false facm alcozmotations''m ay bedefnmatory. Id.;see also M ilkovich v.

    Loral JollrnalCo.,497 U.S. 1, 18-19 (1990)(holding thata statementthatimpliesa false

    assertion offactmaybeactionableevenifitiscouchedasastatementofopinion). Theissueof
    whetùerastatçmentisopinionorfactisdeterminedbythecourtasamatteroflaw,asistheissue
    ofwhetherastatementisdefnmatory. SeeYeaclev.ColleaiateTimes,497 S.E.2d 136,138(Va.
.
    1998);Chavesv.Johnson,335S.E.2d97,102(Va.1985).
           In moving td dismiss Socol's defnm ation claim,the defendants argue thatthe alleged

    statement that Socoldeliberately and egregiously misused ptlrchase cards is a non-actionable

    opinion. Atthis stage ofthe proceedings,however,the courtistmpersuaded. In determining

    whethera statementis one offactor opinion,the courtmustconsiderthe statementas a whole

    ratherthan isolating oneportion ofthestatem entfrom another. Hyland v.Raytheon Tech.Servs.

    Co.,670S.E.2d746,750 (Va.2009). W henconsideredin tllismnnner,thecourtconcludesthat
    the statem entatissue is not a pure expression of opinion. The assertion that Socoldeliberately

    m isused purchase cards(Yontainsprovably false factualcozmotations.'' Raytheon Tech.Servs.

    Co.v.Hyland,V 1S.E.2d84,91(Va.200*7);seeLi (holdingthatastatementsuggestingthatan
    employee was responsible for certnin losses that adversely affected the company was not a


                                                  26
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.
    statementofopinionandcouldbethebasisforaclaim ofdefnmation). Additionally,Haas'ççuse
    qfthetel'
            m <egregiousglyl'mayhaveimpliedanassertionoffactasto (theplaintiffs)stateofmind
    orintentiom'' Galarpev.United AirlinessInc.,N o.3:17-cv-06514,2018W L 1586202,2018U.S.

    Dist.LEXIS56165,.at*13(N.D.Cal.Apr.2,2018);seealsoHyland,641S.E.2dat91(notingthat
    theuseofthewordçssignificantly''lndescribingtheplaintiY sjobperformancedidnotmakethe
    challengedstatementanopirlion). Accordingly,thecourtisunableto concludethatthestatem ent
    atissueisa non-actionableopinion.

           To the extentthatthe defendantsalqo arguethatHaas'statementisnotdefam atory perse,

    thqcouitdisagrees. Liberallyconstrued,theaccusationthatSocoldeliberately and egregiously
    misused pm chase cardswhileserving asCTIO implied thatSocolwasunfitto perlbrm theduties

    oftheposition andthafhelacked honesty and integrity. Accordingly,thecourtconcludesthatthe
       .                                                                              '
                                          '                      .
             .

    i'
     iatementsupportsaplausible claim fordefnmation perse. Thus,CotmtIV isnotsubjectto
    dismissàlunderRule 12(b)(6).
                                              Conclusion

           Forthereasonjstated,thedefendants'm otionto dismisswillbegranted in pat'tanddenied
    in part. TheClerk isdirected to send copiesofthism em orandllm opinion and the accom panying

    orderto al1cotmselofrecord.

           DATED:This QS dayofJtme,2019.



                                                 SeniorUrlited StatesD istrictJudge




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